         Case 1:21-cv-06934-JPO Document 10 Filed 04/28/22 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------ x
                                      :
 SANDY GRACIANO, ON BEHALF OF HIMSELF
 AND ALL OTHER PERSONS SIMILARLY      :
 SITUATED,                            :
                                      :               No.: 1:21-cv-6934
                 Plaintiffs,          :
                                      :
                     v.               :               NOTICE OF VOLUNTARY
                                      :               DISMISSAL
 BOTANIKA BEAUTY LLC,                 :
                                      :
                 Defendant.           :
                                      :
 ------------------------------------ x

       Plaintiff(s), SANDY GRACIANO, in accordance with Rule 41(a)(1)(A)(i) of the Federal

Rules of Civil Procedure, hereby dismisses the above entitled action against Defendant,

BOTANIKA BEAUTY LLC, with prejudice and without fees and costs.

Dated: New York, New York
       April 28, 2022

                                                                   GOTTLIEB & ASSOCIATES

                                                                      /s/Michael A. LaBollita, Esq.

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                                                                            Attorneys for Plaintiffs

SO ORDERED:

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United States District Court Judge
